   Case 1:19-cv-00456-ACK-WRP Document 1-1 Filed 08/23/19 Page 1 of 1                                            PageID #: 14
Certificate of Registration
                        This Certificate issued under the seal of the Copyright
                        Office in accorchlnce with title i7, U11itcd States Code,
                        attests that registration has been made for the work
                        identified below. The information on this certificate has
                        been made a part of the Copyright Office records.                 R egistration Number




                            ~417~
                                                                                          PAu 3-844-508
                                                                                          E ffective Date of Registration :
                                                                                          July 14, 201 7
                        Acting United tates Register of Copyrights and Director




   Title

                             Title of Work :   The Hitm an' s Bodyguard

                            Nature of Claim:   Moti on Picture

   Completion/Publication
                      Year of Completion:      2017

   Author

                        •      Author:         Bodyguard Productions, Inc.
                        Author Created:        Entire Film
                     Work made for hire:       Yes
                           Domiciled in:       United States
                            Anonymous:         No
                         Pseudonymous:         No


   Copyright Claimant

                     Copyright Claima nt:      Bodyguard Production s, lnc.
                                               318 N. Carson Street, #208 Carson City , NV 89701

   Limitation of copyright claim

                    Previou sly registered:    Yes
           Previous registration and year:     PRE000009432, 2017
             Basis of current registration:    Thi s is a changed version of the work.

       New material included in claim:         Cinematographic materia l including perfor mance, production as a motion
                                               picture, editin g and all audio visual elements includin g photography, di alogue,
                                               music and special effects.

   Certification

                                     Name:     Michael A. Hier!
                                      Date:    July 13, 20 17




                                                                                                                        Page J of l
                                                             Exhibit "1"
